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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF CALIFORNIA




KIMBERLY BARSAMIAN,                     )
                                        )   1:07-CV-00316 OWW GSA
                                        )
                       Plaintiff,       )
                                        )
         v.                             )   ORDER DISMISSING ACTION
                                        )
CITY OF KINGSBURG AND                   )
MARTIN SOLIS,                           )
                                        )
                       Defendants.      )
                                        )
                                        )


         Pursuant to the notice of settlement filed by the parties,

         IT IS HEREBY ORDERED that this case is dismissed with

prejudice with each party to bear their own costs and fees.



IT IS SO ORDERED.

Dated: July 29, 2009                      /s/ Oliver W. Wanger
emm0d6                               UNITED STATES DISTRICT JUDGE




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